Case 1:05-cv-00717-JFM Document 21 Filed 07/07/05 Page 1of3

UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND
NORTHERN DIVISION

DR. ANN McALLISTER OLIVARIUS, *

Plaintiff, *
Vv * Civil Action No.: 1:05-CV-00717-JFM
DR. DANIEL FRIEDMAN, et al., *

Defendants. *
* * * * * * * * * * * **

NOTICE OF FILING OF LENGTHY EXHIBIT
Exhibits 1, 2, 6, 7, 8, and 9 which are attached to the Memorandum in Support of
Defendants’ Motion for Sanctions exist only in paper format and are 15 pages or longer. When
scanned into PDF format the files are very large. These exhibits will be filed with the Clerk’s
Office in paper format.
I certify that within 24 hours of the filing of this Notice, I will file and serve paper copies

of the document identified above.

Date: July 7, 2005 DR. DANIEL FRIEDMAN
DR. JOANNE INGWALL
WILLIAM DONELAN
DR. RICHARD PAGE
KAREN SAVRANSKY
DANA BOYD

By Counsel

/s/
Rodney H. Glover (MD Bar No. 07780
Attison L. Barnes, IT (MD Bar No.15198)
Charles C. Lemley (MD Bar No. 15205)

 
Case 1:05-cv-00717-JFM Document 21 Filed 07/07/05 Page 2 of 3

WILEY REIN & FELDING LLP

1776 K Street, N.W.

Washington, DC 20006

(202) 719-7000

Counsel for Daniel Friedman, Joanne Ingwall,

William Donelan, Richard Page, Karen Savransky
and Dana Boyd
Case 1:05-cv-00717-JFM Document 21 Filed 07/07/05 Page 3 of 3

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 7" day of July, 2005, a copy of the foregoing Notice of

Filing of Lengthy Exhibit, along with a copy of Exhibit 10 in paper format was mailed by first

class, postage prepaid mail:

James D. McCarthy, Esquire

Diamond, McCarthy, Taylor, Finley, Bryant & Lee, LLP
1201 Elm Street, Suite #3400

Dallas, Texas 75270
Attorneys for Plaintiff

Martin S. Himeles, Jr., Esquire
Zuckerman Spaeder LLP

100 E. Pratt St., Suite 2440
Baltimore, MD 21202
Attorneys for Plaintiff

/s/
Attison L. Barnes, III
